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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

KABBAGE, INC. d/b/a KSERVICING, et al.,1                    Case No. 22-10951 (CTG)

                       Debtors.                             (Jointly Administered)


                   MOTION AND ORDER FOR PRO HAC VICE ADMISSION

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the
admission pro hac vice of John D. Penn, Esq., of the law firm Perkins Coie LLP, to represent the
post-confirmation Debtors, operating as the Wind Down Estates under terms of the Amended Joint
Chapter 11 Plan of Liquidation of Kabbage, Inc. (d/b/a KServicing) and Its Affiliated Debtors,
dated March 9, 2023 [Docket No. 627] (as amended, modified, or supplemented in accordance
with its terms) in the above-captioned chapter 11 cases.

    Dated: July 10, 2023                                   /s/ Eric J. Monzo
                                                           Eric J. Monzo (DE Bar No. 5214)
                                                           MORRIS JAMES LLP
                                                           500 Delaware Avenue, Suite 1500
                                                           Wilmington, Delaware 19801
                                                           Telephone: (302) 888-6800
                                                           Facsimile: (302) 571-1750
                                                           E-mail: emonzo@morrisjames.com

                                         ORDER GRANTING MOTION

          IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable are: Kabbage, Inc. d/b/a KServicing (3937); Kabbage Canada Holdings, LLC (N/A); Kabbage
Asset Securitization LLC (N/A); Kabbage Asset Funding 2017-A LLC (4803); Kabbage Asset Funding 2019-A LLC
(8973); and Kabbage Diameter, LLC (N/A). Kabbage is a trademark of American Express used under license;
Kabbage, Inc. d/b/a KServicing is not affiliated with American Express. The Debtors’ mailing and service address is
925B Peachtree Street NE, Suite 383, Atlanta, GA 30309.


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             CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of Texas and the Bar
of the State of New York, and submit to the disciplinary jurisdiction of this Court for any alleged
misconduct which occurs in the preparation or course of this action. I also certify that I am
generally familiar with this Court’s Local Rules and with the Standing Order for District Court
Fund effective August 31, 2016. I further certify that the annual fee of $25.00 has been paid to the
Clerk of Court for the District Court.

 Dated: July 10, 2023                               /s/ John D. Penn
                                                   John D. Penn, Esquire
                                                   Perkins Coie LLP
                                                   500 North Akard Street, Suite 3300
                                                   Dallas, TX 75201-3347
                                                   Telephone: (214) 965-7700
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